                                  10541041910
00
Court of Appeals for the
                      First District of Texas at Houston
                                       
                                     Order

Case number:		01-12-01055-CV

Style:		In re Pinnacle Engineering, Inc. Pinnacle Project Services, Inc., Jeffrey A. Liggett, and Terence F. Townend, Relators

Original Proceeding on Petition for Writ of Mandamus from Raymond G. Houde v. Pinnacle Engineering, Inc., Pinnacle Project Services, Inc., Jeffrey A. Liggett, and Terence F. Townend, No. 2001-07373 in the 55th District Court of Harris County, Texas, the Hon. Jeff Shadwick presiding.

	On December 12, 2012, relators, Pinnacle Engineering, Inc. Pinnacle Project Services, Inc., Jeffrey A. Liggett, and Terence F. Townend, filed a petition for writ of mandamus and an "Emergency Motion for Temporary Relief." Relators' emergency motion is granted.  The December 3, 2012 order, which compels production of relators' computer hard drives of Jeffrey Liggett from 2001 - 2006, Terence Townend from 2001 - 2006, and Pete Cruz from 2001 - 2006; network server for Pinnacle Engineering, Inc. and Pinnacle Project Services, Inc.; and native files for any document purported to be the resume of Raymond Houde, is stayed.  The stay is effective until this mandamus proceeding is finally decided.  Any party may file a motion for reconsideration of the stay.  See Tex. R. App. P. 52.10(c).  

	The Court further requests a response from the real party in interest.  The response, if any, is due Friday, January 4, 2013.  

	It is so ORDERED.


Judge's signature: /s/ Terry Jennings
Acting individually


Date:  __________________
